Case 25-90138 Document 25-29 Filed in TXSB on 06/02/25 Page 1 of 7




                            EXHIBIT 29
       Case 25-90138 Document 25-29 Filed Received
                                          in TXSB    on 06/02/25
                                                   4/8/2024           Page
                                                            10:30:52 AM      2 of
                                                                        Superior   7 Eastern District
                                                                                 Court


                                                          Filed 4/8/2024 10:30:00 AM Superior Court Eastern District
                                                                                                    587 EDA 2024




                         IN THE SUPERIOR COURT OF PENNSYLVANIA
                                            EASTERN DISTRICT
------------------------------------------------------------x
ECLIPSE LIQUIDITY, INC.                                     §
                                                            §
                           Plaintiff-Appellant,             §
                                                            §
                  v.                                        §
                                                            §
                                                            §
GEDEN HOLDINGS, LTD.,                                       §
ADVANTAGE TANKERS,                                          §           587 EDA 2024
LLC, and ADVANTAGE                                          § Philadelphia County Civil Division
AWARD SHIPPING, LLC                                         § 200300816
                                                            §
                                                            §
                           Defendant-Appellees              §
                                                            §
APPEAL OF: REUBEN BALZAN,                                   §
COURT-APPOINTED LIQUIDATOR                                  §
FOR GEDEN HOLDINGS, LTD.                                    §
------------------------------------------------------------x

                   DECLARATION OF ADVOCATE REUBEN BALZAN

       1.      My name is Reuben Balzan, and I am a citizen of the Republic of Malta where I

have been duly licensed to practice law since 1994. I hold a law degree from the University of

Malta and I am qualified to practice law in all the courts in Malta. I am well acquainted and

familiar with Maltese Companies Law. My practice is in commercial law and includes advising

and acting for and/or against corporate entities.      My practice has included the collection of

delinquent corporate debt and accounts. I have served on several occasions as court-appointed

liquidator for Maltese companies that have been adjudicated insolvent by the courts of Malta. One

of these companies is Geden Holdings, Ltd., a Maltese company which was adjudicated insolvent

by order of the First Hall Civil Court on June 15, 2017. The original application to declare that

company insolvent No: 810/2016 had been filed by Samsung C&T Deutschland Gmbh in 2016
       Case 25-90138 Document 25-29 Filed in TXSB on 06/02/25 Page 3 of 7




by reason of the repudiation by Geden Holdings Ltd. of a number of charter party contracts that

Geden Holdings had for a number of vessels that were owned by Samsung.

       2.       After a contested hearing where both, the applicant for the insolvency petition and

Geden Holdings. Ltd. were duly represented by their respective advocates, the First Hall Civil

Court made an order whereby it adjudicated Geden Holdings Ltd. insolvent. A copy of the said

order with translation in English is hereto attached as Exhibit 1.

       3.       The liquidator who was appointed over Geden Holdings Ltd. by the Court on the

occasion of adjudication of insolvency was an accountant, Mr. Paul Darmanin, who worked at the

time with the international accounting firm of Deloitte. See attached Exhibit 1.

       4.       I have learned from the Maltese Court records I have reviewed, that Mr. Darmanin

ultimately requested the court to relieve him of the obligations of his appointment as liquidator of

Geden because the persons who were formerly officers of that company and in the employ of its

beneficial owners were unwilling to provide Mr. Darmanin copies of the accounting records of

Geden Holdings, Ltd, and otherwise declined to cooperate with him in administering the estate of

this insolvent Maltese company. Mr. Darmanin’s petition for relief was granted by the Maltese

Court on September 19, 2018. A copy of the Court order allowing Mr. Darmanin to withdraw as

liquidator, and its translation in English are hereto attached as Exhibit 2. As a result, Geden

Holdings Ltd no longer had a liquidator appointed to administer its affairs but, nevertheless

remained insolvent and without any administration.          Under Maltese law, once a company is

adjudicated insolvent it loses its legal capacity to act by or through its former officers, directors or

shareholders. The only way an insolvent company can act is by and through a liquidator appointed

by the Court.
       Case 25-90138 Document 25-29 Filed in TXSB on 06/02/25 Page 4 of 7




       5.      On December 1, 2023, Eclipse Liquidity Inc. a judgment creditor of Geden

Holdings Ltd. petitioned the First Hall Civil Court in Malta to appoint a liquidator. The Court

heard the petition of Geden Holdings Ltd. and granted it, and by its order, I was appointed

Liquidator of Geden Holdings Ltd. on December 4, 2023. A copy of the court order appointing

me as the liquidator of Geden Holdings, Ltd. is hereto attached, together with its translation in

English, and correspondence as Exhibit 3.

       6.       Upon receiving the order for my appointment, I went through the records of the

Court that had adjudicated the insolvency of Geden Holdings Ltd, το determine the status of the

insolvency and consider whether I would accept my appointment.

       7.       Shortly after my appointment as liquidator I was contacted by the law firm of

Dingli & Dingli who wanted to know if I had accepted my appointment and advised that one of

the judgment creditors of Geden Holdings Ltd. wanted me to look into transactions that were

purportedly made in the name of Geden Holdings, Ltd. after its adjudication of insolvency. They

advised that their client Eclipse Liquidity Inc. was aware of “Geden Holdings Ltd.” having

actively participated in legal proceedings in several jurisdictions, indeed in the United States, and

in the United Kingdom, had posted cash security for the release of vessels from arrest, had

negotiated settlements of claims, and had paid the fees of lawyers, solicitors, and attorneys at law

in a number of jurisdictions even in 2020 when Geden Holdings Ltd. was a duly named defendant

and was represented by attorneys, in actions brought by Eclipse Liquidity, Inc. This state of

affairs seemed difficult for me to comprehend because Geden Holdings Ltd. had lost its capacity

to enter into such transactions after 2017 by reason of its adjudication of insolvency, that ended its

corporate capacity to enter into any kind of a juridical act. This suggested that whoever was

claiming to be Geden Holdings Ltd. in these transactions and, indeed in various court proceedings
       Case 25-90138 Document 25-29 Filed in TXSB on 06/02/25 Page 5 of 7




could not have been Geden Holdings Ltd. and was using the name of that company as a subterfuge

to commit fraud or other unlawful acts.

       8.      I further discussed these things with the attorneys who represented Eclipse

Liquidity Inc. in these proceedings in Pennsylvania who advised that they had filed a motion in

the Court of Common Pleas in Pennsylvania in action sub num. 230602605 requesting the Court

to stay all proceedings in this and in the related ongoing action in the 2023 filed Court of Common

Pleas action sub num. 230602605 in which Geden Holdings Limited had been named defendant

and had engaged in litigation. With its motion Eclipse Liquidity Inc., in that action alleged that

the party(ies) claiming to be Geden Holdings Ltd., were impersonating the company and were

impostors, and requested the Court to stay such proceedings until the attorneys who represented

Geden Holdings Ltd. provided proof of their instructions to act on behalf of Geden Holdings, Ltd.

A copy of the said motion of Eclipse Liquidity Inc is hereto attached as Exhibit 4.

       9.      I was astounded to learn from the attorneys for Eclipse Liquidity, Inc. that the Court

of Common Pleas had upheld motions to dismiss put forth by Geden Holdings Ltd. and its co-

defendants in light of the clear warning that the party claiming to be Geden Holdings Ltd. was an

impostor. See Reply of Eclipse Liquidity Inc. hereto attached as Exhibit 5.

       10.     I have made a thorough search of the records of the court in Malta which

adjudicated Geden Holdings Ltd was insolvent, and I have not found any records granting

permission to any person(s) to represent Geden Holdings, Ltd. in any court or other proceedings

anywhere as its attorneys or other representatives.

       11.     My predecessor liquidator Mr. Paul Darmanin had never accepted his appointment

as a liquidator of Geden Holdings Ltd. and he was, accordingly, without power to appoint any
      Case 25-90138 Document 25-29 Filed in TXSB on 06/02/25 Page 6 of 7




attorneys, lawyers, solicitors or other legal representatives to represent Geden Holdings Ltd. in

any legal proceedings.

`      12.       I am the only person lawfully authorized to act for and on behalf of Geden Holdings,

Ltd. by virtue of my office as court-appointed liquidator for this Maltese company.

       13.       From my review of the claims of Eclipse Liquidity Inc. in the Court of Common

Pleas suits in cases 200300816 and 230602605, I note that: (1) Geden Holdings Ltd. is a judgment

debtor of Eclipse Liquidity, Inc. under judgment of the High Court Commercial Division in

London in action No. CL-2017-000200 (2) the judgment of the High Court in London has been

recognized by the Court of Common Pleas, Philadelphia County in case No. 171000196 filed on

December 21, 2017, for USD $3,447,519.91 together with interest; (3) Eclipse Liquidity has

brought suit to enforce its judgment against Geden Holdings Ltd; Advantage Tankers LLC; and

Advantage Award Shipping, LLC as successor corporations and fraudulent transferees of assets of

Geden Holdings, Ltd.; and (4) Eclipse Liquidity has brought suit to enforce its judgment against

Geden Holdings Ltd; Advantage Tankers LLC; and Advantage Award Shipping, LLC; and also

Gulsun Nazli Karamehmet-Williams and her husband Courtney Bryan Williams as alter egos of

the said corporate entities-made-defendants alleged to be successor corporations of Geden

Holdings, Ltd.

       14.       To the extent that the Court of Common Pleas granted a motion brought in the name

of Geden Holdings, Ltd. by parties impersonating the said Maltese Corporate entity of which I am

the liquidator, I have authorized the attorneys of Eclipse Liquidity, Inc. to appeal the above

mentioned judgments/orders of the Court of Common Pleas because Geden Holdings Ltd. (In

Liquidation) is aggrieved because far from being the prevailing party under the judgments /orders

of the Court of Common Pleas in cases 200300816 and 230602605, it has been made the losing
     Case 25-90138 Document 25-29 Filed in TXSB on 06/02/25 Page 7 of 7




party as it is thereby prevented from recovering for the benefit of the creditors of Geden Holdings,

Ltd. (In Liquidation) assets that have been improperly stripped off Geden Holdings, Ltd. to the

detriment of its creditors.

        15.     For these reasons I have authorized the attorneys of Eclipse Liquidity, Inc. to act on

behalf of Geden Holdings, Ltd. in Liquidation to take the appeals to the Pennsylvania Superior

Court in cases 200300816 and 230602605. A copy of my authorization to the said attorneys is

hereto attached as Exhibit 6.

        16.     I understand that statements made in this declaration are made subject to the

penalties of 18 Pa. C.S.A. §4904 relating to unswom falsification to authorities.
